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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK

                                                     :
 SARAH EDMONDSON, et al.,                            :
                                                     :
                        Plaintiffs,                  :
                                                     :   CIVIL ACTION NO. 20-CV-485- EK-CLP
        v.                                           :
                                                     :
 KEITH RANIERE, et al.                               :
                                                     :
                        Defendants.                  :


      [STIPULATED] ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                          INFORMATION (“ESI”)

        This Order Regarding the Production of Documents, Electronically Stored Information and

 Paper Documents (“ESI Protocol”) shall govern the production of documents and electronically

 stored information (“ESI”) by the parties and their counsel of record (collectively, the “Parties”)

 in the above captioned litigation (the “Matter”).

 I.     GENERAL PROVISIONS

        A.      General

                1.      Unless express set forth herein, nothing in this Order is intended to alter the

 scope of discovery permitted or required under the Federal Rules of Civil Procedure (“Fed. R. Civ.

 P.” or the “Rules”), the relevance of any discovery material or the admissibility of any material at

 trial or hearing on this matter. This Order is intended solely to address the production of ESI.

                2.      The procedures and protocols outlined in this Order govern the production

 of ESI by all Parties. The Parties will take reasonable steps to comply with this Order. The Parties

 agree to take reasonable steps to promptly alert all other Parties concerning any technical problems

 associated with complying with this Order and, to the extent that a Party believes that compliance



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 with this Order imposes an undue burden disproportionate to the needs of the case, the Party

 claiming such a burden shall inform all other Parties in writing of the asserted burden and the

 Parties shall thereafter meet and confer within a reasonable time in an effort to resolve the issue.

 All productions made pursuant to this Order are subject to any confidentiality, preservation,

 protective, and/or privilege orders entered in the Matter.

           B.   Definitions

                1.      “Custodian” shall mean any individual of a producing party that may have

 possession, custody, or control of potentially relevant ESI.

                2.      “Discovery Material” is defined as all materials produced or adduced in the

 course of discovery, including but not limited to initial disclosures, documents and things produced

 in response to discovery requests, answers to interrogatories, answers to requests for admission,

 deposition testimony and exhibits, expert reports and disclosures, pretrial disclosures, and

 information derived directly therefrom..

                3.      “Document” or “documents” is defined to be synonymous in meaning and

 equal in scope to the usage of this term in Fed. R. Civ. P. 26 and 34 and includes ESI.

                4.      “Email”    means    electronic   messages      drafted,    sent   or   received

 asynchronously, including any documents incorporated as attachments, via messaging

 applications, including, but not limited to, Microsoft Outlook, Google Gmail or Lotus Notes.

                5.      “Electronically Stored Information,” “Electronic Data,” or “ESI” means

 information stored or recorded in the form of electronic media (including information, files or

 databases stored on any digital or analog machine-readable device, computers, discs, networks or

 tapes), synonymous in meaning and equal in scope to the usage of this term in Fed. R. Civ. P. 26

 and 34.



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                6.      “Extracted Text” means the text extracted from a Document file and

 includes at least all header, footer and document body information when reasonably available.

                7.      “Load File” means an electronic file that is used to import all required

 production information into a document database, including document images, extracted and/or

 OCR text, native files where required, and metadata, as well as information indicating document

 and page breaks, and document relationships such as those between an e-mail and its attachments

 and a document and information related to embedded content.

                8.      “Matter” refers to the above-captioned lawsuit entitled Edmondson v.

 Raniere, Case No. No. 20-CV-485- EK-CLP, now pending in the Eastern District of New York.

                9.      “Metadata” means structured information about ESI that is created by the

 file system or application, embedded in the document or email and sometimes modified through

 ordinary business use. Metadata of the ESI describes, inter alia, the characteristics, origins, usage

 and validity of the collected ESI.

                10.     “Native Format” means the format of ESI in the application in which such

 ESI was originally created and/or used by the producing party in the usual course of its business

 and in its regularly conducted activities.

                11.     “Non-Party” means any individual or entity that is not a named Plaintiff or

 Defendant in this action.

                12.     “OCR” means the optical character recognition technology used to read

 paper documents or electronic images of documents and output such documents to a searchable

 text format. The latter text is also referred to as the “OCR text” or simply “OCR.”

                13.     “Party” means Plaintiffs and Defendants in the Matter.




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                14.     “Producing Party” means the Party that may be producing documents in

 response to the request of Requesting Party.

                15.     “Requesting Party” means the Party requesting production of documents.

                16.     “Tagged Image File Format” or “TIFF” refers to the CCITT Group IV

 graphic file format for storing bit-mapped images of ESI or documents.

        C.      Applicability

        The production specifications in this Order apply to ESI that is produced in the first

 instance in the Matter. In the event of transfer to other courts, this Order will remain in effect in

 all respects, until adopted by the transferee court or replaced by a successor order. The terms and

 specifications of this Order shall only apply to productions made after the date of entry of this

 Order. Productions served in the Matter that were delivered before the date of entry of this Order

 are exempt from the terms of the Order, unless the Producing Party and Receiving Party otherwise

 agree in writing.

        D.      Deadlines

        References to schedules and deadlines in this ESI Protocol shall comply with Rule 6.

        E.      Confidential Information

        Nothing herein shall contradict the Parties’ rights and obligations with respect to any

 protective order entered by the Court.

        F.      Encryption

        To maximize the security of information in transit, any media on which Discovery Material

 is produced may be encrypted by the Producing Party. In such cases, the Producing Party shall

 transmit the encryption key or password to the Requesting Party, under separate cover,

 contemporaneously with sending the encrypted media.



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        G.      Rolling Productions

        Discovery Material that has been identified by a party for production shall be produced on

 a rolling basis at reasonable intervals.

 II.    SCOPE OF DISCOVERY

        A.      Preservation

        Nothing in this Order shall alter the preservation duties imposed by the Rules or applicable

 law, and the Parties shall meet and confer regarding any issues that may arise with respect to such

 preservation obligations prior to bringing any disputes to the Court.

        B.      Documents Produced in Other Matters

        To the extent any Party is required or agrees to produce Discovery Material in this Matter

 that was originally collected or produced in other civil cases or investigations, such documents

 shall be identified and produced to the extent possible in accordance with the production format

 described herein. Such Discovery Material will bear the original Bates numbers assigned to them

 in those other proceedings and the Bates stamp required in this Matter.

        C.      Third Party Subpoenas and the Processing of Non-Party Documents

        A Requesting Party issuing a Non-Party subpoena (“Issuing Party”) shall include a copy

 of this Order with the subpoena and request that the Non-Party produce documents in accordance

 with the specifications of this Order relating to form of production. The Issuing Party is

 responsible for producing to all other Parties any productions obtained in the same form in which

 the Discovery Material was produced by the Non-Party. Such Non-Party productions should be

 served by the Issuing Party to all other Parties within fourteen (14) calendar days of the Non-

 Party’s production to the Issuing Party. If any such Non-Party productions are not Bates numbered

 by the non-party producer, prior to any Party reproducing the Non-Party documents, the Parties


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 will meet and confer to agree upon a format for designating the Discovery Material with a unique

 Bates number prefix. For the avoidance of doubt, nothing in this Order is intended to or should be

 interpreted as narrowing, expanding, or otherwise affecting the rights of the Parties or Non-Parties

 to object to a subpoena.

 III.   GENERAL PRODUCTION FORMAT PROTOCOLS

        A.      Appendices

        Appendices A and B contain the technical specifications for the production of ESI. If there

 is any conflict between the body of this document and the Appendices, the text of the body of this

 document shall control.

        B.      Form of Production

        Productions of Discovery Material should take the following file types and format.

                1.      Emails, PDF files, and word processing (e.g. Microsoft Word) files shall be

 produced as TIFF files. If an original document contains color, the document should be produced

 as single-page, 300 DPI JPG images with JPG compression and a high-quality setting as to not

 degrade the original image. The parties are under no obligation to enhance an image beyond how

 it was kept in the usual course of business. TIFFs/JPGs will show any and all text and images that

 would be visible to the reader using the native software that created the document. For example,

 TIFFs/JPGs of e-mail messages should include the BCC line. If the image does not accurately

 reflect the document as it was kept in the usual course of business, including all comments, edits,

 tracking, annotations, and/or other hidden text, and no redaction is applied, the document shall be

 produced as a native file with a TIFF placeholder image.

                2.      All spreadsheet files (e.g., Microsoft Excel, Corel Quattro, etc.) shall be

 produced as native files with TIFF placeholder images.



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                3.      All presentation files (e.g., PowerPoint) shall be produced as TIFF files with

 speaker note view visible except for files that contain hidden slides, comments, and/or notes

 (including speaker’s notes), and no redaction is applied, in which case the document shall be

 produced as a native file with a TIFF placeholder image.

                4.      All media files, such as audio and video files, shall be produced as native

 files with TIFF placeholder images.

                5.      Each native file should be named according to the Bates number it has been

 assigned and should be linked directly to its corresponding record in the load file using the

 NATIVELINK field.

                6.      The Parties will meet and confer on the production of other file types,

 including, but not limited to, CAD drawings, GIS data, materials and prototypes testing, data from

 messaging applications (e.g., Teams, Slack, Google Chat, et al.), CRM or ERP platforms, (SAP,

 Salesforce, et al.) etc., including with respect to non-standard metadata fields not already listed in

 Appendix B, below.

        C.      Text Files

        Each ESI item produced under this ESI Protocol shall be accompanied by a text file as set

 forth below. All text files shall be provided as a single document-level text file for each item, not

 one text file per page. Each text file shall be named using the Bates number of the first page of the

 corresponding production item.

                1.      Extracted Text. All email, unredacted ESI, and redacted spreadsheets

 produced as native files, should be provided with document-level extracted text files. Extracted

 text shall include all comments, revisions, track changes, speaker’s notes, and text from documents

 with comments or track changes, and hidden worksheets, slides, columns, and rows. Text extracted



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 from emails shall include header information that would be visible if the email was viewed in

 Outlook including: (1) the individuals to whom the communication was directed (“To”); (2) the

 author of the email communication (“From”); (3) who was copied and blind copied on such email

 (“CC” and “BCC”); (4) the subject line of the email (“RE” or “Subject”); (5) the date and time of

 the email, and (6) the names of any attachments.

                2.     OCR. In the event a document, other than spreadsheets (e.g., Excel files),

 contains text that is to be redacted, Optical Character Recognition (“OCR”) text files should be

 provided for any unredacted portions of the documents. Document-level OCR text files shall also

 be provided for hard-copy scanned documents. OCR software must be set to the highest quality

 setting for any previously unscanned paper documents, and reasonable quality control measures

 shall be used to ensure that the integrity of scanned copies of previously unscanned paper

 documents are preserved for OCR (e.g., pages are not angled or skewed, text is not blurred or

 obscured, etc.). The Parties will meet and confer regarding OCR capabilities for documents in

 foreign languages or skewed/rotated documents.

        D.      Redactions

                1.     No redactions for relevance may be made within produced Discovery

 Material. The Parties agree that, where ESI items need to be redacted, they shall be produced in

 TIFF format with each redaction clearly indicated. Each redaction on a document shall be

 completed using white or colored boxes that contain the word “Redacted” at the point of each

 redaction on each page of the redacted document. The redacted image file should be produced

 along with OCR text of the redacted file. If metadata displayed in the imaged document was

 redacted, then that metadata should be excluded from the load file.




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                2.      All metadata fields shall be provided, unless redaction of those fields is

 necessary to protect the asserted privilege. The Parties understand that for certain MS Excel

 documents or other file types or files, TIFF redactions may be impracticable. These documents

 may be redacted in native format so long as the original document is also preserved in an

 unredacted form. The Parties shall meet and confer regarding the format of any native redactions.

        E.      Bates Numbering

        All images must be assigned a Bates number that must: (1) be unique across the entire

 document production; (2) maintain a constant prefix across the entire production; (3) contain no

 special characters or embedded spaces, except hyphens or underscores; (4) be sequential within a

 given document; and (5) use a unique text prefix. To the extent reasonably practicable, the Bates

 number must also maintain consistent numbering across a family of documents. If a Bates number

 or set of Bates numbers is skipped in a production, the Producing Party will so note in a cover

 letter or production log accompanying the production. If a document is reproduced for any reason,

 it shall be reproduced under the same Bates number as the original production. If additional pages

 are needed beyond those allocated to it during the initial production, they shall be assigned

 additional number following a period (e.g., “ABC-000001.001”)

        F.      Color

        Documents containing color need not be produced in color. The Producing Party will

 promptly produce a color image of a document upon request if the original document contains

 color and the color conveys meaningful information.

        G.      Hard-Copy Documents

        Collected and/or potentially responsive documents that exist in hard copy will be scanned

 to TIFF image format and produced in accordance with the specifications set forth in this Order.



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 A Party’s hard-copy documents that are not text-searchable shall be made searchable by OCR prior

 to production at that Party’s cost. In scanning hard-copy documents, distinct documents should not

 be merged into a single record, and single documents should not be split into multiple records (i.e.,

 paper documents should be logically unitized). In the case of an organized compilation of separate

 documents – for example, a binder containing several separate documents behind numbered tabs

 – the document behind each tab should be scanned separately, but the relationship among the

 documents in the compilation should be reflected in the proper coding of the beginning and ending

 document and attachment fields (i.e., the “BegBates,” “EndBates,” “BegAttach,” and “EndAttach”

 fields). The Parties will make reasonable efforts to unitize the documents correctly. Within 14

 calendar days (or as otherwise agreed) after notice from a Requesting Party that a document

 appears to have been unitized incorrectly, the Producing Party shall either explain why the

 unitization is correct or produce a correctly unitized replacement if possible. If any original hard-

 copy document has any note or attachment affixed to it, the Producing Party shall scan and produce

 copies of the original hard-copy document along with all notes and attachments to it in the same

 manner as other documents. If any such note or attachment obscures any information on the

 original hard-copy document, the Producing Party shall also produce a copy of the original hard-

 copy document without the note or attachment affixed in order to make the underlying information

 visible.

            H.     Family Relationships

            Family relationships (e.g., the association between an attachment and its parent document,

 or between embedded documents, or linked internal or non-public documents and their parents)

 shall be preserved. A document and all other documents in its attachment range, emails with

 attachments, and files with extracted embedded OLE documents all constitute family groups.



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 Attachments should be consecutively produced with their parent such that the Bates numbers for

 the attachment(s) is/are directly subsequent to the parent document.

        I.      Complete Family Groups/Relationships

        If any member of a family group is produced, all members of that group must also be

 produced or else logged as privileged/work-product without breaking the grouping of these

 documents. To the extent members of a family are withheld, the Producing Party shall include a

 slipsheet reflecting each document within the group withheld and the basis for withholding those

 documents.

        J.      Hyperlinks

        To the extent possible, a Producing Party will use available technology to match

 hyperlinked documents, including those utilizing Google Workspace, Microsoft Office’s “Share

 Documents Via Link” feature, or other document sharing platforms, with the email or parent

 document to which the documents were attached. Documents extracted from embedded files or

 hyperlinks shall be populated with the BEGATTACH and ENDATTACH metadata fields to show

 the family relationship. If documents cannot be extracted from links at the time of collection, the

 Parties agree to meet and confer to discuss alternative methods of collection and production. Upon

 request by the Receiving Party, the Producing Party will produce hyperlinked documents that were

 not otherwise produced and that are within the Producing Party’s possession, custody, or control

 and are hyperlinked within the Producing Party’s production. A reasonable request for hyperlinks

 should include a list of hyperlinks and corresponding Bates numbers. The Parties acknowledge

 that the current version of the hyperlinked document may differ from the version of the document

 at the time the hyperlink was sent and also that hyperlinks may no longer be active or available.

 The parties also acknowledge that the metadata for hyperlinked documents produced under this



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 section may not reflect the metadata for those documents at the time the documents were

 hyperlinked. The Parties agree to meet and confer in good faith to resolve any disputes concerning

 the appropriateness of production of the requested documents.

 IV.    ESI METADATA FORMAT AND PROCESSING

        A.      System Files

        ESI productions may be de-NISTed using the industry standard list of such files maintained

 in the National Software Reference Library by the National Institute of Standards & Technology

 as it exists at the time of de-NISTing. Other file types may be added to the list of excluded files by

 agreement of the Parties.

        B.      De-duplication

        A Party is only required to produce a single copy of a responsive document. “Duplicate

 ESI” means files that are exact duplicates based on the files’ MD5 hash, SHA-1 hash, email

 duplicate spare messages or SHA-256 hash values. The Parties shall make reasonable efforts to

 avoid the production of Duplicate ESI. To the extent identical copies of documents appear in the

 files of multiple Custodians, the Producing Party shall attempt to produce only one such identical

 copy across all Custodians based on MD5 or SHA-1 hash values at the document level for file

 system data or the email family level for emails. Entire document families may constitute

 Duplicate ESI. De-duplication shall not break apart families. When Duplicate ESI exists in the

 files of multiple custodians, the names of all custodians who were in possession of a document

 prior to de-duplication will be populated in the All Custodians field identified in Appendix B.

        C.      Embedded Files

        Embedded files, except for images embedded in emails, are to be produced with family

 relationships preserved. Embedded files should be assigned Bates numbers that directly follow the



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 Bates numbers on the documents within which they are embedded and values in the “BegAttach”

 and “EndAttach” fields to indicate their family. Images embedded in emails shall not be separately

 produced in the first instance, but shall be produced upon reasonable request by the Receiving

 Party. A Producing Party is not required to review or produce extracted embedded OLE documents

 if the document they were extracted from will be produced in native format. Likewise, the File

 Path that would have been provided for each version of the document that was not produced due

 to de-duplication shall be populated in the All File Paths field.

        D.      Zero-byte Files

        The Parties may filter out stand-alone files identified as zero-bytes in size that do not

 contain responsive file links or file names.

        E.      Hidden Text

        ESI items processed after the execution date of this ESI Protocol shall be processed, to the

 extent practicable, in a manner that preserves hidden columns or rows, hidden text, worksheets,

 speaker notes, tracked changes, and comments.

        F.      Compressed Files

        Compression file types (i.e., .CAB, .GZ, .TAR, .Z, and .ZIP) shall be decompressed in a

 reiterative manner to ensure that a zip within a zip is decompressed into the lowest possible

 compression resulting in individual folders and/or files.

        G.      Password-Protected or Encrypted Files

        To the extent practicable, a Producing Party shall provide passwords to access any

 produced ESI items that are password protected upon request by a Receiving Party. The Parties

 shall meet and confer to resolve any disputes over passwords to encrypted or password-protected

 ESI items.



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        H.      Messages, Chats, and Enterprise Messaging

        The Parties will meet and confer to discuss the use of and relevance of message or chat

 ESI, including enterprise messaging (e.g., Slack, MS Teams, Zoom, WhatsApp, Sametime, Skype,

 Telegram, etc.) and message, chat and collaboration software ESI (e.g., Microsoft Teams,

 OneDrive, Slack, Facebook Messenger, Signal, or WhatsApp). The Parties will further meet and

 confer regarding the processing and production format for relevant communications prior to any

 production of message or chat ESI.

 V.     SEARCH METHODOLOGY

        A.      Use of Search Methodologies

                1.     The Parties shall meet and confer regarding search methods, if any, used to

 identify responsive documents and ESI. The fact that a document or ESI is responsive to a search

 term or identified as responsive by any other technology used to identify potentially responsive

 documents and ESI shall not prevent any Party from withholding such file from production on the

 grounds that the file is protected from disclosure by applicable privilege or work-product

 protection.

                2.     The use of a search methodology does not relieve a party from its

 obligations under the Rules to produce responsive documents, and accordingly documents or ESI

 known to be responsive to a discovery request or otherwise subject to production or relevant to the

 claims or defenses shall be produced without regard to whether it was returned by any search

 methodology used in accordance with this Order or otherwise agreed upon by the parties unless

 there is a claim of privilege. Prior to a Party using a search methodology (if any) to identify

 documents for production, the search terms, keywords, date limitations, and custodians applied to

 the data searched will be disclosed by the Producing Party to the Requesting Party. Within fourteen



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 (14) calendar days of such disclosure, the Parties must meet and confer regarding such terms,

 custodians, and date culling per paragraph V.B (“Search Terms”) below.

                3.      Should a Party choose to use a search methodology, the party will specify

 what custodial and non-custodial sources that the search methodology will be run against.

 Documents which are reasonably believed to be responsive and for which text-based search

 technologies are fundamentally ineffective, such as images, spreadsheets, hard-copy documents,

 or certain foreign language documents where the Parties do not have suitable search terms in such

 language, must be reviewed without search methodologies that rely primarily on text.

                4.      At meet and confers where the topic is the validity of search methodologies

 to identify documents subject to production, the Producing Party shall provide search terms hit

 reports pursuant to paragraph V.C (“Hit Reports”) below, or other data points available to provide

 insight into the validity of the method used.

                5.      Should a Producing Party wish to use any method or methodology not

 specifically addressed by this Order to exclude documents from any review or production, notice

 to the Receiving Party must be made prior to the use of any such method or methodology.

        B.      Search Terms

                1.      Where the Parties agree that potentially responsive ESI should be searched

 using search terms, the Parties will meet and confer to resolve disagreements over the search terms,

 their efficacy, or their application. Specifically, the Parties will meet and confer to provide

 reasonable assurances to the Requesting Party that the Producing Party’s search terms and

 methodology used to apply them are reasonably calculated to identify responsive documents and

 ESI. Prior to or during such meet and confer, the Producing Party will provide the information

 required by this Order.



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                2.      If, after disclosure of the Producing Party’s proposed search method, search

 parameters, and search terms, and after a reasonable meet-and-confer process, a Requesting Party

 believes in good faith that the Producing Party’s proposals regarding search, retrieval, and

 production would result in deficiencies in production, the Requesting Party may object to the

 proposal and make requests for different or additional search methods, parameters, or search terms.

 Such requests shall only be made after the Parties have met and conferred as to the alleged

 deficiencies identified by the Requesting Party. If the issue is not resolved within fourteen (14)

 calendar days after the objection, either Party may thereafter submit the dispute to the Court or its

 designee for resolution.

        C.      Hit reports

        A hit report shall contain, for each custodian or data source in the document collection

 where the terms were applied, or as otherwise agreed, the following with respect to each proposed

 or modified search term in the collection:

                1.      The number of documents with hits for that term;

                2.      The number of unique documents for that term and no other term; and

                3.      The number of family members requiring review in connection with all

                documents with hits.

 VI.    PRIVILEGE LOGS

        A.      Requirement and Timing

        Any document falling within the scope of a request for production that is withheld or

 redacted on the basis of a claim of attorney-client privilege, work product doctrine, or any other

 claim of privilege from discovery (collectively referred to hereinafter as “privilege”) should be

 identified by the Producing Party in a privilege log. The Parties agree to make reasonable efforts

 to produce privilege logs on a rolling basis and agree that a final privilege log should be produced

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 within 30 days of the completion of document production. Each entry on the privilege log shall

 include sufficient information for a party or the Court to determine whether the document is

 privileged.

        B.      Format

        Privilege logs will be produced in an Excel format, or other agreed-upon format, which

 allows the Receiving Party to search and sort any and all columns and entries of the privilege log.

        C.      Fields

                1.       Metadata

        A log of the documents withheld or redacted for privilege will be generated from the

 following corresponding metadata fields to the extent they exist as electronic metadata associated

 with the original electronically stored information:

        •       Author
        •       Subject
        •       Title
        •       Attachment Name
        •       File Name
        •       File Path(s)
        •       Last Saved/Edited By
        •       Custodian(s)
        •       Sender/From
        •       Recipient/To
        •       CC
        •       BCC
        •       Sent Date/Time
        •       Created Date/Time
        •       Date/Time Last Modified
        •       Family relationship (e.g., identifying parent emails and attachments)
        •       File Extension
        •       Attachment Count
        •       Hash Value
        •       Conversation ID or Thread ID

        Parties may substitute an alternative description of the content within the identified

 metadata field(s) where the content of the metadata field reveals privileged information. The


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 Producing Party shall identify each instance in which it has modified the content of the field and

 the basis for the modification.

                 2.     Identifying Attorneys and Third Parties. The privilege logs will clearly

 identify any attorneys on the privilege log using an asterisk or other agreed-upon method and any

 third party, along with the name of the third-party business, and the job title and/or role of the

 third-party identified in a log entry or entries. To the extent a document is included on the log

 where no attorney is listed as the author, sender or recipient, the description shall include sufficient

 information regarding which attorney(s) requested or were involved in the preparation of the

 document that is claimed to be privileged.

                 3.     Other contents. Parties will also include on the privilege log fields

 containing:

             •   a unique document ID or Bates number;
             •   the log production date;
             •   information sufficient to understand the family relationship of withheld or redacted
                 documents;
             •   the privilege asserted (e.g., attorney-client, work product); and
             •   a description of the nature of the withheld or redacted document or communication
                 in a manner that, without revealing information claimed privileged, will enable a
                 party to assess the privilege claim.


                 4.     Treatment of Families. Attachments to emails shall be logged as separate

 documents on the log, with family relationships identified.

        If the document is the parent or child of a family of documents, some of which have been

 produced and others withheld, the log should identify the Bates numbers of the first document (i.e.,

 the parent, or if the parent is withheld the first attachment) produced from the family in which the

 logged document was withheld.

        D.       Listservs



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        To the extent that Listserv or group email addresses are identified on the privilege log, the

 Designating Party shall work in good faith to identify individuals and/or groups of individuals

 and/or groups of individuals who make up such Listserv or group email.

        E.      Hard Copy

        To the extent a Producing Party seeks to withhold or redact any hard-copy documents or

 documents lacking sufficient metadata, the Producing Party shall log – if known – the following

 information for such documents consistent the Rules:

         •   a statement of the ground(s) alleged for withholding all or part of such document;
         •   the date the document was prepared;
         •   the date the document was distributed;
         •   the identity of the document’s author;
         •   the identity of all recipients of the document;
         •   an indication of all authors or recipients of the document who are attorneys;
         •   an indication of all authors or recipients of the document who are third parties and the
             nature of each third-party relationship;
         •   a description of the nature of the withheld or redacted document in a manner that,
             without revealing information claimed privileged or protected, will enable a party to
             assess the privilege claim; and
         •   a unique document ID or Bates number.

        F.      Redactions

        Notwithstanding a claim of privilege, any document containing both privileged and non-

 privileged matter must be produced with the purportedly privileged portion redacted, with the

 redacted portion indicated on the document itself.

        G.      Communications following the Complaint

        Privilege log identification is not required for privileged communications exchanged after

 the filing of the Complaint between the Producing Party and their counsel.

        H.      No Categorical Logging

        Absent agreement in writing by the Parties, documents withheld or redacted on the basis

 of privilege may not be logged categorically. In other words, each description of the withheld or


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 redacted document required in this section shall be created from an assessment of the individual

 document.

        O.        When the deposition of a custodian is scheduled for a date following substantial

 completion of a production of their custodial file, the parties shall provide privilege logs involving

 documents from the deponent’s custodial file no fewer than fourteen (14) days prior to the

 deposition, unless otherwise negotiated and agreed to between counsel.

VII. CHALLENGING PRIVILEGE

        Should a Receiving Party have a good-faith reason to believe a particular entry or portion

 of the entry log is not accurate or does not provide adequate information, the Receiving Party may

 request additional information, which will be provided to the Receiving Party upon reasonable

 request within fourteen days (14) in a supplemental privilege log consistent with the Rules.

        A.        A Receiving Party may challenge a Producing Party’s claims of privilege or work

 product protection at any time.

        B.        The Receiving Party shall set forth in writing their challenges and the Producing

 Party shall have fourteen (14) calendar days to respond. Failure to respond timely will be presumed

 to terminate the meet and confer process.

        C.        Within seven (7) calendar days of the Producing Party’s response or such other time

 as may reasonably be agreed by the Parties, the Parties shall meet and confer to attempt to resolve

 the challenge.

        D.        Once Receiving Party initiates a written challenge pursuant to paragraph A herein,

 the meet and confer process shall be presumed concluded no later than thirty (30) calendar days

 later or such other time as may reasonably be agreed by the Parties, inclusive of the response times

 in paragraphs B and C.



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        E.      If the Receiving Party lodges a challenge to a withheld or redacted document, the

 Parties agree to meet and confer regarding the claim of privilege pursuant to the guidelines herein.

 If, at the conclusion of the meet and confer process, the Parties are still not in agreement, they may

 bring the issue to the Court.




 DATED THIS _____ Day of ________________, 2025



                                                   Honorable Eric R. Komitee
                                                   Chief Magistrate Cheryl L. Pollak
                                                   United States District Court
                                                   Eastern District of New York


 WE SO MOVE
                                 And agree to abide by the terms of this Order



  William E. Hoese                                   Robin A. Henry
  Robert A. Swift                                    Anne S. Aufhauser
  Zahra R. Dean                                      FRIED, FRANK, HARRIS, SHRIVER
  KOHN, SWIFT & GRAF, P.C.                             & JACOBSON LLP
  1600 Market Street, Suite 2500                     One New York Plaza
  Philadelphia, PA 19103                             New York, NY 10004
  (215) 238-1700                                     (212) 859-8000
  whoese@kohnswift.com                               robin.henry@friedfrank.com
  rswift@kohnswift.com                               anne.aufhauser@friedfrank.com
  zdean@kohnswift.com
                                                     Attorneys for Sara Bronfman
  Attorneys for Plaintiffs
                                                     Aaron M. Goldsmith
  Adam M. Prom                                       225 Broadway, Suite 715
  DICELLO LEVITT LLP                                 New York, NY 10007
  10 North Dearborn Street, Sixth Floor              (914) 588-2679
  Chicago, IL 60602                                  aarongoldsmithlaw@gmail.com
  (312) 214-7900
  aprom@dicellolevitt.com                            Attorney for Keith Raniere and Clare
                                                     Bronfman

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  Greg G. Gutzler
  Emma Bruder                              Danielle Roberts
  DICELLO LEVITT LLP                       575 Easton Ave
  485 Lexington Avenue, 10th Floor         Apt. 18 S
  New York, NY 10017                       Somerset, NJ 08873
  (646) 933-1000                           (516) 480-1700
  ggutzler@dicellolevitt.com               danielle@drdanielleroberts.com
  ebruder@dicellolevitt.com
                                           Appearing pro se
  Attorneys for Plaintiffs

  Agnieszka M. Fryszman
  Brendan R. Schneiderman
  COHEN MILSTEIN SELLERS
    & TOLL PLLC
  1100 New York Ave. NW, Suite 800
  Washington, DC 20005
  (202) 408-4600
  afryszman@cohenmilstein.com
  bschneiderman@cohenmilstein.com

  Manuel John Dominguez
  COHEN MILSTEIN SELLERS
    & TOLL PLLC
  11780 U.S. Highway One, Suite N500
  Palm Beach Gardens, FL 33408
  (561) 515-1400
  jdominguez@cohenmilstein.com

  Attorneys for Plaintiffs




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                                         APPENDIX A

                             TECHNICAL SPECIFICATIONS
                           AND REQUIRED METADATA FIELDS

 IMAGES:

    o Produce documents as single page, black and white, Group IV, TIFF files.

    o Image Resolution 300 DPI.

    o File Naming Convention: Match Bates Number of the page.

    o Insert placeholder image for files produced in Native Format.

    o Original document orientation shall be retained.

 SPECIAL FILE TYPE INSTRUCTIONS:

    o Certain documents shall be produced in Native Format as required by Section III of this
      Protocol.

 FULL TEXT EXTRACTION/OCR:

    o Produce full extracted text for all file types (Redacted text will not be produced)
      including text of embedded content.

    o Produce OCR text for any hard-copy document.

    o Produce OCR text for any ESI where the source format was an image file (such as JPG,
      JPEG, GIF, BMP, PCX, PNG, TIF, TIFF etc.) where extracted text cannot be provided,
      using industry standard OCR technology (Redacted text will not be produced).

    o Produce OCR text for any redacted document.

    o Production format: Single text file for each document, not one text file per page.

    o File Naming Convention: Match BegBates Number.

 LOAD FILES

    Data Load File

      o The data load file should use standard Concordance delimiters:

      o Comma - ¶ (ASCII 20)

      o Quote - þ (ASCII 254)


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      o Newline-® (ASCII174)

      o The first record should contain the field names in the order of the data

      o All date fields should be produced in mm/dd/yyyy format

      o Use carriage-return line-feed to indicate the start of the next record

      o Load files should not span across media (e.g., CDs, DVDs, Hard Drives, Etc.); a
        separate volume should be created for each piece of media delivered

      o The name of the data load file should mirror the name of the delivery volume, and
        should have a DAT extension (i.e., ABC00l.DAT)

      o The volume names should be consecutive (i.e., ABC00l, ABC002, et. seq.)

    Image Load File

      o The name of the image load file should mirror the name of the delivery volume, and
        should have an .OPT extension (i.e., ABC001.OPT)

      o The volume names should be consecutive (i.e., ABC001, ABC002, et. seq.)

      o There should be one row in the Load File per TIFF image.

      o Every image in the delivery volume should be contained in the image load file.

      o The image key should be named the same as Bates Number of the page.

      o Load files should not span across media (e.g., CDs, DVDs, Hard Drives, Etc.), i.e., a
        separate volume should be created for each piece of media delivered.

      o The Opticon OPT image load file (.OPT) configuration shall be a page level comma
        delimited file containing seven fields per line: PageID, VolumeLabel, ImageFilePath,
        DocumentBreak, FolderBreak, BoxBreak, PageCount




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                                        APPENDIX B

                                    METADATA FIELDS

                                                                    Non- Email
            Field                  Description            Email                      Hard Copy
                                                                       ESI
  Production Number Begin Document Starting Bates
                                                             x            x               x
          [ProdBeg]                     #
   Production Number End
                          Document Ending Bates #            x            x               x
          [ProdEnd]
      Attachment Begin         Beginning Bates of
                                                             x            x               x
      [ProdBegAttach]           attachment range
       Attachment End           Ending Bates of
                                                             x            x               x
      [ProdEndAttach]           attachment range
                           Name of the custodian or
                             repository name of the
          Custodian                                          x            x               x
                          document produced - Last
                           Name, First Name format
                            This is the source from
            Source         which non-custodial data          x            x               x
                                  was collected
                                 Name(s) of the
                          deduplicated custodians or
                           repository name(s) of the
       All Custodians                                        x            x               x
                          document produced - Last
                          Name, First Name format;
                              semi-colon delimited
                            File name of document
          File Name            (Original including           x            x
                                    Extension)
                           File extension of original
       File Extension                                        x            x
                                    document
                              Type of Outlook item
     Email Outlook Type   (e.g., email, calendar item,       x
                                    note, task)
                           For documents produced
                           in TIFF form, number of
                            pages in the document.
         Page Count                                          x            x               x
                           For documents produced
                           in native, page count will
                             be 1 (for placeholder).
                           Title field extracted from
       Document Title        the Metadata of a non-                       x               x
                                Email document
                              Document author of a
            Author                                                        x               x
                              non-Email document.


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                                                                    Non- Email
           Field                   Description            Email                      Hard Copy
                                                                       ESI
       Email Subject             Subject of email            x
          From                     Email author              x
            To                   Email recipients            x
           CC                     Email copyees              x
          BCC                 Email blind copyees            x
                            Date sent (mm/dd/yyyy
      Date-Time Sent                                         x
                                hh:mm:ss format)
                                  Date received
    Date-Time Received            (mm/dd/yyyy                x
                                hh:mm:ss format)
                                  Creation date
    Date-Time Created             (mm/dd/yyyy                             x
                                hh:mm:ss format)
                             Last modification date
  Date-Time Last Modified         (mm/dd/yyyy                             x
                                hh:mm:ss format)
                            File path of the location
                              where the item was
         File Path                                           x            x
                          located during the normal
                               course of business.
                           File path that would have
                            been provided for each
       All File Paths      version of the document           x            x
                          that was not produced due
                                to de-duplication.
                               Size or volume of
          Filesize                                           x            x
                                  individual file
                              Y if hidden content,
    HasHiddenContent                                                      x
                             otherwise N or empty
                          The actual location where
     Physical Location    the Document is stored or                                       x
                                    preserved
                                 The box number
   Box Number or unique
                           associated with archived                                       x
         identifier
                                   documents.
                               Unique electronic
                               signature of email
        Hash Value                                           x            x
                           or electronic file used for
                                  deduplication.
                          Production volume name,
    Production Volume         including a volume             x            x               x
                              number and a prefix



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                                                                     Non- Email
            Field                   Description            Email                      Hard Copy
                                                                        ESI
                                 which indicates the
                                  Producing Party
                                   Confidentiality
                              designation pursuant to
       Confidentiality                                        x            x               x
                                          the
                              Protective Order, if any
                            Descriptor for documents
                             that have been redacted,
          Redacted              yes or y if document          x            x               x
                                contains redactions,
                                otherwise n or blank
                                This field should be
                            populated by the basis for
                               the redactions on this
      Redaction Reason                                        x            x               x
                                document. Multiple
                             entries shall be separated
                                   by semicolons
                              Path to produced native
         Native Link                                          x            x               x
                                file used for linking
                             Date of the parent email
         Family Date           associated with child          x            x
                                     documents
                             Time of the parent email
        Family Time            associated with child          x            x
                                     documents
                            Path to produced text file
          Text Link                                           x            x               x
                             used for database linking
     Other Legal Matter/     Beginning Bates number
     Regulatory/Related     of the first document in an
   Productions BegAttach      attachment range used           x            x              x
                               when produced in the
                                 other legal matter
         Other Legal         Ending Bates number of
  Matter/Regulatory/Related     the last document in
   Productions EndAttach      attachment range used           x            x               x
                               when produced in the
                                 other legal matter




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